     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 1 of 49




            IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

DONALD A. KING and THE                )
DUSTIN INMAN SOCIETY, INC.,           )
                                      )
      Plaintiffs,                     )
                                      )     CIVIL ACTION NO.
v.                                    )
                                      )     2:22-cv-00207-WKW-JTA
THE SOUTHERN POVERTY                  )
LAW CENTER, INC.,                     )
                                      )
      Defendant.                      )


       DEFENDANT SOUTHERN POVERTY LAW CENTER, INC.’S
     MOTION TO DISMISS COMPLAINT PURSUANT TO RULE 12(B)(6)
        AND MEMORANDUM OF LAW IN SUPPORT THEREOF

                                    Shannon L. Holliday [ASB-5440-Y77S]
                                    Robert D. Segall [ASB-7354-E68R]
                                    COPELAND FRANCO SCREWS & GILL, P.A.
                                    Post Office Box 347
                                    Montgomery, Alabama 36101-0347
                                    Telephone: 334-834-1180
                                    Facsimile: 334-834-3172
                                    Email: holliday@copelandfranco.com
                                    Email: segall@copelandfranco.com

                                    Chad R. Bowman (pro hac vice forthcoming)
                                    Maxwell S. Mishkin (pro hac vice forthcoming)
                                    BALLARD SPAHR LLP
                                    1909 K Street NW, 12th Floor
                                    Washington, DC 20006
                                    Telephone: 202-661-2200
                                    Facsimile: 202-661-2299
                                    Email: bowmanchad@ballardspahr.com
                                    Email: mishkinm@ballardspahr.com


                    Attorneys for Defendant The Southern Poverty Law Center, Inc.
         Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 2 of 49




                                            TABLE OF CONTENTS

TABLE OF AUTHORITIES .............................................................................................. iii

PRELIMINARY STATEMENT ......................................................................................... 1

FACTUAL BACKBROUND AND PROCEDURAL HISTORY ...................................... 4

    I.        THE PARTIES.................................................................................................... 4

    II.       THE CHALLENGED STATEMENTS AND PUBLICATIONS ...................... 4

    III.      SPLC’S PUBLICLY STATED GROUNDS FOR CHARACTERIZING DIS
              AS AN ANTI-IMMIGRANT HATE GROUP ................................................... 6

              A. Statements by King and Elbel Reflecting That Plaintiffs Villify And Malign
                 Immigrants..................................................................................................... 6

              B. Plaintiffs’ Links to Anti-Immigrant Activists and White Nationalists ......... 9

              C. Plaintiffs’ Links to White Nationalist And Anti-Immigrant Groups .......... 10

    IV.       PROCEDURAL HISTORY ............................................................................. 12

ARGUMENT..................................................................................................................... 12

    I.        STANDARD OF REVIEW .............................................................................. 13

    II.       THE APPLICABLE STATUTE OF LIMITATIONS AND “OF AND
              CONCERNING” DOCTRINE SUBSTANTIALLY RESTRICT THE SCOPE
              OF THE CLAIMS IN THIS CASE .................................................................. 14

              A. The Statute Of Limitations Leaves Only One Statement In Suit. ............... 15

              B. King Is Not A Proper Plaintiff Because The Only Statement In Suit Is Not
                 “Of And Concerning” Him. ........................................................................ 17

    III.      THE ANTI-IMMIGRANT HATE GROUP DESIGNATON IS A
              SUBJECTIVE OPINION THAT CANNOT SUPPORT A LIBEL CLAIM ... 18

              A. The First Amendment Protects The “Anti-Immigrant Hate Group”
                 Designation As A Subjective Expression Of Opinion ................................ 19


                                                               i
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 3 of 49




              B. Georgia Law Also Provides That The “Anti-Immigrant Hate Group”
                 Characterization Is A Non-Actional Opinion.............................................. 27

    IV.       THE COMPLAINT DOES NOT CONTAIN SUFFICIENT WELL-PLEADED
              FACTS PLAUSIBLY TO ALLEGE ACTUAL MALICE .............................. 30

              A. The Actual Malice Standard Places A “Daunting” Burden On Plaintiffs ... 31

              B. The Doctrine Of Collateral Estoppel Limits The Allegations At Issue ...... 34

              C. None Of The “New” Allegations Satisfies The Actual Malice Test ........... 34

CONCLUSION ................................................................................................................. 39

CERTIFICATE OF SERVICE .......................................................................................... 40

EXHIBIT 1, Declaration of Shannon L. Holliday




                                                              ii
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 4 of 49




                                        TABLE OF AUTHORITIES

Cases                                                                                                   Page(s)

800 Mktg. Solutions, Inc. v. GMAC Ins. Mgmt. Corp.,
     2008 U.S. Dist. LEXIS 53680 (M.D. Ga. July 14, 2008) ...................................... 29

Abramson v. Pataki,
     278 F.3d 93 (2d Cir. 2002) ..................................................................................... 17

Adelson v. Harris,
      973 F. Supp. 2d 467 (S.D.N.Y. 2013) .................................................................... 30

Air Wisconsin Airlines Corp. v. Hoeper,
      571 U.S. 237 (2014) ............................................................................................... 38

Armscorp of America, Inc. v. Daugherty,
     380 S.E.2d 729 (Ga. Ct. App. 1989) ...................................................................... 18

Ashcroft v. Iqbal,
      556 U.S. 662 (2009) ........................................................................................ passim

Bell v. Smith,
        281 So. 3d 1247 (Ala. 2019) .................................................................................. 27

Bell Atl. Corp. v. Twombly,
       550 U.S. 544 (2007) ........................................................................................ passim

Bergen v. Martindale-Hubbell, Inc.,
      337 S.E.2d 770 (Ga. Ct. App. 1985) ................................................................ 19, 28

Boley v. Atl. Monthly Grp.,
       950 F. Supp. 2d 249 (D.D.C. 2013) ....................................................................... 30

Bose Corp. v. Consumers Union of U.S., Inc.,
      466 U.S. 485 (1984) ............................................................................................... 20

Brian v. Richardson,
       660 N.E. 2d 1126 (N.Y. 1995) ............................................................................... 24

Brimelow v. N.Y. Times Co.,
      2020 U.S. Dist. LEXIS 237463 (S.D.N.Y. Dec. 17, 2020), aff’d, 2021 U.S. App.
      LEXIS 31672 (2d Cir. Oct. 21, 2021), cert. denied, 142 S. Ct. 1210 (2022) ........ 10


                                                            iii
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 5 of 49




Buckley v. Littell,
      539 F.2d 882 (2d Cir. 1976) ............................................................................. 21, 25

Cantwell v. Connecticut,
     310 U.S. 296 (1940) ............................................................................................... 24

Chaparro v. Carnival Corp.,
     693 F.3d 1333 (11th Cir. 2012) .............................................................................. 13

Coral Ridge Ministries Media, Inc. v. Amazon.com, Inc.,
      406 F. Supp. 3d 1258 (M.D. Ala. 2019), aff’d on other grounds, 6 F.4th 1247 (11th
      Cir. 2021) ......................................................................................................... passim

Cottrell v. Smith,
       788 S.E.2d 772 (Ga. 2016) ..................................................................................... 19

Condit v. Clermont Cty. Review,
      675 N.E.2d 475 (Ohio Ct. App. 1996) ................................................................... 26

Cox Enters., Inc. v. Bakin,
      426 S.E.2d 651 (Ga. Ct. App. 1992) ................................................................ 17, 18

Edelman v. Croonquist,
     2010 U.S. Dist. LEXIS 43399 (D.N.J. May 4, 2010) ............................................ 26

Egiazaryan v. Zalmayev,
      880 F. Supp. 2d 494 (S.D.N.Y. 2012) .............................................................. 24, 25

Farah v. Esquire Magazine,
      736 F.3d 528 (D.C. Cir. 2013) ................................................................................. 7

Fiske v. Stockton,
       320 S.E.2d 590 (Ga. Ct. App. 1984) ................................................................ 17, 18

Fitts v. Minn. Mining & Mfg. Co.,
        581 So. 2d 819 (Ala. 1991) .................................................................................... 27

Forte v. Jones,
       2013 U.S. Dist. LEXIS 39113 (E.D. Cal. Mar. 20, 2013)...................................... 26

Garrison v. Louisiana,
      379 U.S. 64 (1964) ............................................................................................. 2, 30



                                                               iv
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 6 of 49




Gertz v. Robert Welch, Inc.,
       418 U.S. 323 (1974) ................................................................................... 18, 20, 22

Gettner v. Fitzgerald,
      677 S.E.2d 149 (Ga. Ct. App. 2009) ...................................................................... 19

Gitlow v. State of New York,
      268 U.S. 652 (1925) ............................................................................................... 22

Grayson v. Savannah News-Press,
      139 S.E.2d 347 (Ga. Ct. App. 1964) ...................................................................... 28

Guilford Transp. Indus., Inc. v. Wilner,
       760 A.2d 580 (D.C. 2000) ...................................................................................... 25

Hamze v. Cummings,
     652 F. App’x 876 (11th Cir. 2016) ......................................................................... 22

Harte-Hanks Commc’ns, Inc. v. Connaughton,
      491 U.S. 657 (1989) ............................................................................................... 31

Horsley v. Rivera,
      292 F.3d 695 (11th Cir. 2002) ................................................................................ 23

Hotchner v. Castillo-Puche,
      551 F.2d 910 (2d Cir. 1977) ................................................................................... 28

Hustler Magazine, Inc. v. Falwell,
      485 U.S. 46 (1988) ................................................................................................. 20

Immuno AG v. Moor-Jankowski,
     567 N.E.2d 1270 (N.Y. 1991) ................................................................................ 24

Jackson v. United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv.
Workers Int’l Union,
      2009 WL 10704261 (N.D. Ala. Feb. 23, 2009)...................................................... 25

Jaillett v. Ga. Television Co.,
        520 S.E.2d 721 (Ga. Ct. App. 1999) .................................................................. 2, 29

Jankovic v. Int’l Crisis Grp.,
      494 F.3d 1080 (D.C. Cir. 2007) ............................................................................. 18



                                                             v
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 7 of 49




King v. SPLC,
       No. 20-cv-120-ECM-SMD, 2022 U.S. Dist. LEXIS 56569
       (M.D. Ala. Mar. 29, 2022)............................................................................... passim

Klayman v. City Pages,
     2015 U.S. Dist. LEXIS 49134 (M.D. Fla. Apr. 3, 2015), aff’d, 650 F.
     App’x 744 (11th Cir. 2016) .................................................................................... 31

Lee L. Saad Const. Co. v. DPF Architects, P.C.,
       851 So. 2d at 507 .................................................................................................... 34

Lil’ Joe Wein Music, Inc. v. Jackson,
       245 F. App’x 873 (11th Cir. 2007) ........................................................................... 7

Linn v. United Plant Guard Workers of Am., Local 114,
       383 U.S. 53 (1966) ................................................................................................. 31

Martin v. Brock,
      2007 U.S. Dist. LEXIS 57207 (N.D. Ill. July 19, 2007) ........................................ 26

McCafferty v. Newsweek Media Grp., Ltd.,
     955 F.3d 352 (3d Cir. 2020) ............................................................................. 25, 33

Michel v. NYP Holdings, Inc.,
      816 F.3d 686 (11th Cir. 2016) ......................................................................... passim

Milkovich v. Lorain Journal Co.,
      497 U.S. 1 19 (1990) ....................................................................................... passim

Monge v. Madison Cnty. Record, Inc.,
     802 F. Supp. 2d 1327 (N.D. Ga. 2011) .................................................................. 29

Montgomery Ward & Co. v. McGraw-Hill Publ’g Co.,
     146 F.2d 171 (7th Cir. 1944) .................................................................................. 25

Nat’l Ass’n of Letter Carriers v. Austin,
       418 U.S. 264 (1974) ............................................................................................... 31

Nelson Auto Ctr., Inc. v. Multimedia Holdings Corp.,
      951 F.3d 952 (8th Cir. 2020) .................................................................................. 32

New York Times Co. v. Sullivan,
     376 U.S. 254 (1964) ............................................................................. 14, 17, 24, 33


                                                              vi
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 8 of 49




Nichols v. HealthSouth Corp.,
      281 So. 3d 350 (Ala. 2018) .................................................................................... 15

O’Neil v. Peekskill Faculty Ass’n,
      507 N.Y.S.2d 173 (N.Y. App. Div. 1986) .............................................................. 26

Provisional Gov’t of New Afrika v. ABC,
       609 F. Supp. 104 (D.D.C. 1985) ............................................................................ 18

Ratajack v. Brewster Fire Dep’t, Inc.,
      178 F. Supp. 3d 118 (S.D.N.Y. 2016) .................................................................... 25

Rosa & Raymond Parks Inst. for Self Dev. v. Target Corp.,
      812 F.3d 824 n.12 (11th Cir. 2016) .................................................................. 15, 27

Sandals Resorts Int’l Ltd. v. Google, Inc.,
      925 N.Y.S.2d 407 (N.Y. App. Div. 2011) .............................................................. 30

Sanders v. Smitherman,
      776 So. 2d 68 (Ala. 2000) ...................................................................................... 27

Scott v. News-Herald,
       496 N.E.2d 699 (Ohio 1986) .................................................................................. 21

Silvester v. ABC,
       839 F.2d 1491 (11th Cir. 1988) .............................................................................. 31

Smith v. Sch. Dist. of Phila.,
       112 F. Supp. 2d 417 (E.D. Pa. 2000)...................................................................... 26

Squitieri v. Piedmont Airlines, Inc.,
       2018 U.S. Dist. LEXIS 25485 (W.D.N.C. Feb. 16, 2018) ..................................... 26

St. Amant v. Thompson,
      390 U.S. 727 (1968) ............................................................................................... 31

Standing Comm. on Discipline v. Yagman,
      55 F.3d 1430 (9th Cir. 1995) .................................................................................. 26

Sure, Inc. v. Premier Petroleum, Inc.,
       807 S.E.2d 19 (Ga. Ct. App. 2017) ........................................................................ 34




                                                            vii
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 9 of 49




Tizes v. Curcio, 1
       997 U.S. Dist. LEXIS 13726 (N.D. Ill. Sept. 9, 1997) ........................................... 36

Troche v. Smith,
      1998 Conn. Super. LEXIS 2251 (Conn. Super. Ct. Aug. 6, 1998) ........................ 36

Turner v. Wells,
      879 F.3d 1254 (11th Cir. 2018) ....................................................................... passim

Ward v. Zelikovsky,
      643 A.2d 972 (N.J. 1994) ....................................................................................... 26

Webster v. Wilkins,
      456 S.E.2d 699 (Ga. Ct. App. 1995) ...................................................................... 29

Whitney v. California,
      274 U.S. 357 (1927) ............................................................................................... 22

Williams v. Kanemaru,
      309 P.3d 972 (Table), 130 Haw. 304 (Haw. Ct. App. 2013) ................................. 26

Statutes & Other Authorities

Ala. Code § 6-2-38(k) ........................................................................................................ 15

Federal Rule of Civil Procedure 12(b)(6) .......................................................................... 12

Restatement (Second) of Conflicts of Laws ................................................................ 27, 29

Robert D. Sack, Sack on Defamation .......................................................................... 14, 26

Section 501(c)(4) of the Internal Revenue Code ................................................................. 4




                                                              viii
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 10 of 49




       COMES NOW Defendant the Southern Poverty Law Center, Inc., and moves this

Honorable Court to dismiss Plaintiffs’ Complaint, ECF 1, pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure, for failure to state a claim upon which relief can be

granted. In support of this Motion, Defendant submits the following Memorandum of Law.

                            PRELIMINARY STATEMENT

       This is a re-filed lawsuit. On March 29, 2022, Chief Judge Emily C. Marks

dismissed the same defamation claims brought by the same plaintiff, the Dustin Inman

Society, Inc. (“DIS”) and its leader Donald A. King (“King”), against the same defendant,

the Southern Poverty Law Center, Inc. (“SPLC”). That prior case similarly alleged that

SPLC defamed the plaintiffs, principally through identifying DIS as an “anti-immigrant

hate group.” King v. SPLC, No. 20-cv-120-ECM-SMD, 2022 U.S. Dist. LEXIS 56569

(M.D. Ala. Mar. 29, 2022) (“King I”). As the Chief Judge explained in granting a motion

to dismiss under Rule 12(b)(6), DIS and King “ask[ed] the Court to ignore the protections

of the First Amendment,” which “[t]he Court decline[d] to do.” Id. at *11.

       Rather than file an amended complaint in that action, DIS and King filed an

amended complaint in this new lawsuit against the SPLC. Again, it asks the Court to ignore

the protections of the First Amendment for speech. Because the new Complaint fails to

state a claim for the same reasons that their prior pleading failed as a matter of law in

King I, this Court should reach the same conclusion and dismiss this action.

       First, SPLC’s statement that DIS is an anti-immigrant hate group is not susceptible

to empirical proof, because quantums of hate and tolerance are not measured on a

numerically verifiable scale, and is therefore an expression of subjective opinion protected

                                             1
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 11 of 49




under the First Amendment. The First Amendment allows only provably false statements

to be potentially actionable as defamation. Milkovich v. Lorain Journal Co., 497 U.S. 1,

19-20 (1990) (statement on matter of public concern “must be provable as false before

there can be liability under state defamation law, at least in situations . . . where a media

defendant is involved”).

       Second, even if such a characterization could be deemed subject to objective proof

and therefore potentially provable as false, the designation still would not be actionable

under the First Amendment or state law because it is a conclusion based on disclosed facts.

Turner v. Wells, 879 F.3d 1254, 1262 (11th Cir. 2018) (a statement is a “pure opinion”

when “the defendant makes a comment or opinion based on facts which are set forth in the

publication or which are otherwise known or available to the reader or listener as a member

of the public” and “pure opinion[s] are protected from defamation actions by the First

Amendment”); see also Jaillett v. Ga. Television Co., 520 S.E.2d 721, 726 (Ga. Ct. App.

1999) (same protections provided by Georgia law).

       Finally, the Complaint fails on the additional separate and independent ground –

applied by Chief Judge Marks – that DIS and King are public figures who have not alleged

facts that would, if proven, plausibly establish that SPLC published with “actual malice”

fault, a standard that requires publication with subjective knowledge of falsity or a “high

degree of awareness” of “probable falsity.” Garrison v. Louisiana, 379 U.S. 64, 74 (1964);

Turner, 879 F.3d at 1273 (dismissing defamation claim under Rule 12(b)(6) for failure to

plead sufficient facts that, if proven, would plausibly establish actual malice).




                                              2
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 12 of 49




       In considering the prior iteration of this lawsuit, the Court concluded it need not

reach or decide the first and second grounds for dismissal because Plaintiffs so clearly

failed to adequately plead that SPLC published the challenged statements with actual

malice fault. See King I, 2022 U.S. Dist. LEXIS 56569, at *8 n.6. That choice led the

Court to dismiss the prior action without prejudice based on the Eleventh Circuit’s

guidance that libel plaintiffs in such a situation “should have the opportunity to amend

[their] complaint.” Id. at *11-12 & n.9 (quoting Michel v. NYP Holdings, Inc., 816 F.3d

686, 706 (11th Cir. 2016)).

       Plaintiffs did not take that opportunity. They chose instead to file this action with

an amended version of the complaint labeled as “Plaintiffs’ Complaint.” This litigation,

however, is not written on a blank slate. The doctrine of collateral estoppel bars Plaintiffs

from re-litigating issues that were decided in the prior lawsuit, including actual malice

allegations made and argued in that lawsuit. Additionally, because Plaintiffs opted to file

a new case, the applicable statute of limitations bars claims arising from statements

published prior to April 27, 2020, which includes all but one of the published statements

that Plaintiffs are attempting to re-litigate here.

       Whether on the same actual malice pleading grounds that the Chief Judge dismissed

the prior lawsuit or on the as-yet unaddressed basis of the First Amendment and state law

protections for opinions and conclusions based on disclosed facts, this Court should dismiss

these Plaintiffs’ claims again under Rule 12(b)(6). Moreover, because Plaintiffs have now

made three unsuccessful attempts to state such a claim, the Court should dismiss this

Complaint with prejudice rather than providing Plaintiffs a fourth bite at the same apple.


                                                3
      Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 13 of 49




            FACTUAL BACKGROUND AND PROCEDURAL HISTORY

I.     THE PARTIES

       Defendant SPLC is a nonprofit civil rights organization with a stated mission of

fighting hate and bigotry and seeking justice for the most vulnerable members of society.

See, e.g., What We Do, SPLC, https://www.splcenter.org/what-we-do.                 Among other

activities, SPLC monitors various groups and publishes on its website a “Hate Map”

containing an annual census of groups it has designated as hate groups. Id.; see also Compl.

¶¶ 9-10. SPLC does not characterize individuals as hate groups. Id. ¶ 28.

       Plaintiff DIS is “an organization recognized under Section 501(c)(4) of the Internal

Revenue Code with a stated mission and goal of promoting the enforcement of immigration

laws in the United States.” Id. ¶ 11. Plaintiff King “chartered” DIS in 2005 and remains

“the public face” of the organization today. Id. ¶¶ 12-13.

II.    THE CHALLENGED STATEMENTS AND PUBLICATIONS

       Based on its research and investigations, SPLC designates certain organizations as

“hate groups.” Id. ¶ 9. A list of hundreds of groups currently designated as hate groups is

publicly available online.      See https://www.splcenter.org/hate-map/by-ideology.           The

SPLC defines a “hate group” as “an organization that – based on its official statements or

principles, the statements of its leaders, or its activities – has beliefs or practices that attack

or malign an entire class of people, typically for their immutable characteristics.” Id. SPLC

categorizes hate groups into numerous “ideologies,” including Anti-Immigrant, Anti-

LGBT, Anti-Muslim, Black Nationalist, White Nationalist, Neo-Confederate, and Neo-

Nazi, among others. Id.


                                                4
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 14 of 49




        SPLC designated DIS as an anti-immigrant hate group in 2019. Compl. ¶ 26.

According to SPLC:

               Anti-immigrant hate groups are the most extreme of the
               hundreds of nativist groups that have proliferated since the late
               1990s, when anti-immigration xenophobia began to rise to
               levels not seen in the United States since the 1920s. Most white
               hate groups are also anti-immigrant, but anti-immigrant hate
               groups single out that population with dehumanizing and
               demeaning rhetoric. Although many groups legitimately
               criticize American immigration policies, anti-immigrant hate
               groups go much further by pushing racist propaganda and ideas
               about non-white immigrants.

Id. ¶ 27 (quoting https://www.splcenter.org/20200318/frequently-asked-questions-about-

hate-groups#immigrant). 1 SPLC published a lengthy report, explaining the many reasons

for its decision to characterize DIS as an “anti-immigrant hate group.”                        See

https://www.splcenter.org/fighting-hate/extremist-files/group/dustin-inman-society (cited

at Compl. ¶ 42 & n.10); Ex. 2 to the Declaration of Shannon Holliday, which is Ex. A

hereto [“Holliday Declaration” or “Holliday Decl”]. The report’s subheading reads, “The

Dustin Inman Society, led by D.A. King, poses as an organization concerned about

immigration issues, yet focuses on vilifying all immigrants.” Id.; see also Compl. ¶ 34.




   1
      By referring to and quoting from these SPLC publications, Plaintiffs have incorporated
them into the pleadings for purposes of the instant motion. See King I, 2022 U.S. Dist. LEXIS
56569, at *3 n.1 (“The Plaintiffs, in their complaint, allege that the SPLC defamed them in its
Intelligence Report and Hate Map, but they do not attach either to their complaint. SPLC instead
attached the relevant parts of the reports to its motion to dismiss as well as a report on SPLC’s
website, the contents of which are referred to in the Complaint. Because the contents of the
reports are alleged in the complaint and form the basis of the Plaintiffs’ claims, and are not
challenged on authenticity or content by either party, the Court properly considers the contents of
the reports in ruling on the SPLC’s motion to dismiss.”) (citation omitted).


                                                5
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 15 of 49




        This case, like its predecessor, challenges those two statements – that is, (1) SPLC’s

characterization of DIS as an “anti-immigrant hate group,” see Compl. ¶ 26; and

(2) SPLC’s observation that DIS, “led by [Plaintiff] King, poses as an organization

concerned about immigration issues, yet focuses on vilifying all immigrants,” see id. ¶ 34.

A copy of the portion of SPLC’s “Hate Map” published in 2021, which lists DIS as a

Georgia-based anti-immigrant hate group, is attached as Exhibit 1 to the Holliday

Declaration.

III.    SPLC’S PUBLICLY STATED GROUNDS FOR CHARACTERIZING DIS
        AS AN ANTI-IMMIGRANT HATE GROUP

        The bases for SPLC’s designation of DIS as an anti-immigrant hate group and its

opinion that DIS vilifies immigrants are fully disclosed in the report on SPLC’s website

about DIS (the “SPLC DIS Report”) and include, but are not limited to, (a) statements by

King and DIS board member Fred Elbel; (b) Plaintiffs’ associations with prominent anti-

immigrant figures; and (c) Plaintiffs’ associations with anti-immigrant groups and white

nationalist groups that are also anti-immigrant. See Ex. 2 to Holliday Decl. (SPLC DIS

Report).

        A.     Statements by King And Elbel Reflecting That Plaintiffs Vilify
               And Malign Immigrants

        SPLC reported the following statements by King and Elbel that support SPLC’s

opinion that King and DIS both vilify and malign immigrants. 2

   2
     This Memorandum references the report about King and DIS that has been referred to, and
quoted from, on SPLC’s website. SPLC relies on the report not for the truth of the information it
contains, but because its existence provides the necessary context for evaluating the challenged
designation of DIS as a hate group and for assessing whether Plaintiffs could plausibly plead that
SPLC designated DIS as a hate group with the requisite actual malice. Federal courts properly


                                                6
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 16 of 49




       1.       King, at a Newton County (GA) Republican Party meeting in April 2007,

said that undocumented immigrants are “not here to mow your lawn—they’re here to blow

up your buildings and kill your children, and you, and me.’” Ex. 2 to Holliday Decl. (SPLC

DIS Report) at 2.

       2.       King, in a blog post in July 2004, wrote, “We have become sadly acquainted

with the absolute and brazen disregard for the law that comes from the third world horde

that is allowed to swarm over our border with Mexico. . . . It is clear that when the mostly

Mexican mob illegally ‘migrates’ into our nation, it brings with it the culture of lawlessness

and chaos that is responsible for the very conditions that they flee in the rapidly

deteriorating example of Democracy without the rule of law that is Mexico.” Id. (ellipsis

in original).

       3.       King, according to the Anti-Defamation League, was quoted in 2008 as

describing the United States as a country “being invaded and colonized” by immigrants

and having its “way of life” destroyed. Id.

       4.       King asked in 2004, “Must the United States silently suffer the incursion

of one million people a year because they are brown?” Id.




take judicial notice of such press reports, videos, speeches, and other publicly available materials
on a motion to dismiss in defamation cases, such as this one, where the broader context in which
a given statement was disseminated is an important element of the legal analysis. See, e.g., Lil’
Joe Wein Music, Inc. v. Jackson, 245 F. App’x 873, 879 (11th Cir. 2007) (taking judicial notice
of widespread distribution of a film based on newspaper articles); Farah v. Esquire Magazine,
736 F.3d 528, 534 (D.C. Cir. 2013) (taking judicial notice of prior news articles in considering
motion to dismiss defamation claims).


                                                 7
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 17 of 49




       5.     King, in a 2010 blog entry on the anti-immigrant hate website VDARE,

wrote the following about his experience at an event called March for Dignity: “[The march

was composed of] mostly Hispanic demonstrators. . . . I got the sense that I had left the

country of my birth and been transported to some Mexican village, completely taken over

by an angry, barely restrained mob. . . . My first act on a safe return home was to take a

shower.” Id. at 1-2 (alterations in original).

       6.     King, in promoting an anti-immigration rally in March 2008, wrote on the

DIS website, “We support the concept of attrition of the illegal population through

enforcement of existing laws,” referring to the concept of attrition through enforcement.

Id. at 4. As SPLC has explained, the “‘attrition through enforcement’ concept mentioned

by King was popularized in 2005 by the anti-immigrant hate group Center for Immigration

Studies (CIS),” whose executive director has described “attrition through enforcement as

making it as difficult as possible for an immigrant to live so that they ‘self deport.’” Id.

       7.     King wrote in a June 2006 VDARE article, “‘For me, while standing a few

feet away from group after group, the impulse to reach out and personally deport these

Third World invaders was nearly uncontrollable.’” Id. at 3.

       8.     King retweeted the anti-Muslim “Voice of Europe” Twitter account dozens

of times in 2017. The tweets included statements such as:

              “The beautiful Italy is rapidly being Islamised. This looks more
              like Tehran or Kabul”

              “The usual suspects were rioting in Brussels. Sad, it was once
              a great city with wonderful people”




                                                 8
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 18 of 49




              “Italian psychiatrist: Italy could soon look like Nigeria and
              could completely lose control”

Id. at 6. In March 2018, King retweeted an account that shared a screenshot of a tweet that

read: “Friendly reminder that Muslims murder gay people” and has continued to retweet

the tweets of other anti-immigrant groups and individuals as well. Id. at 6.

       9.     SPLC has also reported the following statement that DIS board member and

former webmaster Fred Elbel made in 2004: “Damned right. I hate ’em all—negroes,

wasps, spics, eskimos, jews, honkies, krauts, ruskies, ethopians, pakis, hunkies, pollocks

and marxists; there are way too many of them. I’m all for trout, elephants, bacteria, whales,

wolves, birds, parrot fish, deciduous foliage and mollusks. Time to rebalance the planet,

bleeding heart liberals be damned.” Id. at 2.

       B.     Plaintiffs’ Links to Anti-Immigrant Activists and White
              Nationalists

       SPLC has also documented connections between King, DIS, and individuals known

for their anti-immigrant activism:

       1.     John Tanton: One long-time association is between King and John Tanton,

“a Michigan ophthalmologist turned white nationalist who has created a network of anti-

immigrant organizations.” Ex. 2 to Holliday Decl. (SPLC DIS Report) at 2. As SPLC

reported, “Tanton has a long track record of working with white nationalists and espousing

racist rhetoric.” Id. “In a radio interview, King said he was ‘proud’ of the relationship

[with Tanton] and stated, ‘I am also very proud that John Tanton is a personal friend and a

personal hero.’” Id. The SPLC DIS Report provides further information about Tanton and

some of the organizations he started.


                                                9
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 19 of 49




        2.    Chris Simcox:       King has organized and participated in several rallies

protesting legislation that would aid undocumented immigrants in any way. Ex. 2 to

Holliday Decl. (SPLC DIS Report) at 3. Chris Simcox, the former leader of the Minuteman

Civil Defense Corp., “a nationwide anti-immigrant vigilante organization known for its

armed-citizen border patrols,” spoke at a 2005 rally organized by King. Id. Members of

the group were also in attendance. King has also advertised the group on his website. Id.

        3.    Peter Brimelow: King has written for the SPLC-designated hate group

VDARE, which is an anti-immigration website founded by white nationalist Peter

Brimelow “‘dedicated to preserving our historical unity as Americans into the 21st

century.’” Ex. 2 to Holliday Decl. (SPLC DIS Report) at 3. “It is a hub for white

nationalists and antisemites who write on the issue of immigration.” Id. 3

        C.    Plaintiffs’ Links To White Nationalist And Anti-Immigrant Groups

        SPLC has further documented connections between King, DIS, and other groups

with anti-immigrant platforms:

        1.    The Social Contract and The Social Contract Press (TSCP): SPLC

reported that “[b]oth Fred Elbel—who once served as DIS’s webmaster and sits on the

group’s board—and King have written for The Social Contract, a quarterly journal founded


   3
      Brimelow recently sued The New York Times for libel over its characterization of him as a
“white nationalist,” and the U.S. District Court for the Southern District of New York dismissed
that complaint with prejudice under Rule 12(b)(6) for failure plausibly to allege actual malice,
concluding that “The Times was within its right to base its description of Plaintiff on its own
evaluation of Plaintiff’s published writings and other public commentary and on the analysis of
an organization The Times perceived as having relevant expertise, namely the SPLC.” Brimelow
v. N.Y. Times Co., 2020 U.S. Dist. LEXIS 237463, at *22 (S.D.N.Y. Dec. 17, 2020), aff’d, 2021
U.S. App. LEXIS 31672 (2d Cir. Oct. 21, 2021), cert. denied, 142 S. Ct. 1210 (2022).



                                              10
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 20 of 49




by [John] Tanton known for routinely publishing race-baiting articles penned by white

nationalists.” Ex. 2 to Holliday Decl. (SPLC DIS Report) at 3. Moreover, “[o]n numerous

occasions, King has spoken at The Social Contract Press’s (TSCP) Writer’s Workshop, an

annual gathering of white nationalists and the anti-immigrant lobby.” Id. TSCP is itself a

SPLC-designated white nationalist hate group. Id.

       2.     VDARE: As noted above, SPLC reported that “King has written for the

white nationalist SPLC-designated hate group VDARE,” which is “an anti-immigration

website ‘dedicated to preserving our historical unity as Americans into the 21st century’”

and a “hub for white nationalists and antisemites who write on the issue of immigration.”

Ex. 2 to Holliday Decl. (SPLC DIS Report) at 3.

       3.     Colorado Alliance for Immigration Reform (CAIRCO):               DIS board

member Elbel “also works for Colorado Alliance for Immigration Reform (CAIRCO),

another anti-immigrant hate group.” See Ex. 2 to Holliday Decl. (SPLC DIS Report) at 3.

                                     *      *       *

       In sum, the SPLC DIS Report contains comprehensive information that formed the

bases for SPLC’s conclusion that DIS is a hate group that maligns immigrants and that it

vilifies immigrants. In addition, the page has multiple links to other sources as further

support for the information reported on the web page. SPLC adopts that information as if

fully set forth herein in support of its Motion to Dismiss. See generally Exhibit 2 to the

Holliday Declaration (SPLC DIS Report), the online version of the SPLC DIS Report, and

the hyperlinked material therein.




                                           11
      Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 21 of 49




IV.    PROCEDURAL HISTORY

       Plaintiffs filed their initial defamation complaint against SPLC in February 2020

in the Circuit Court for Montgomery County, Alabama, and SPLC removed the case to

this District. See King I, ECF 1. Plaintiffs filed an Amended Complaint in April 2020,

see id. ECF 3, which SPLC moved to dismiss, see id. ECF 10. The Chief Judge granted

the motion in March 2022 and dismissed the case without prejudice. See id. ECF 19.

       The following month, Plaintiffs filed their Complaint in this action. See ECF 1.

On May 17, 2022, the Court granted SPLC’s unopposed motion to extend its time to

respond until June 13, 2022. See ECF 8. SPLC now timely moves to dismiss Plaintiffs’

Complaint with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                       ARGUMENT

       Each of Plaintiffs’ claims fails as a matter of law for several independent reasons.

As an initial matter, Plaintiffs’ claims are time-barred to the extent they challenge any

statements published before April 27, 2020, which leaves as the only statement in suit the

characterization of DIS as an “anti-immigrant hate group.” Because that statement is not

of-and-concerning King personally, he is no longer a proper plaintiff in this action. The

sole remaining defamation claim fails as a matter of law because the characterization of

DIS as an “anti-immigrant hate group” is not actionable because it expresses SPLC’s

opinion about DIS, which is protected by the First Amendment and state law.

Furthermore, even if that characterization were capable of being proven true or false,

Plaintiffs cannot plead facts that would plausibly allege SPLC published it with

knowledge of its falsity or a high degree of awareness of its probable falsity – i.e., with


                                             12
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 22 of 49




the level of “actual malice” fault that the First Amendment requires here. For these

reasons, the entire Complaint should be dismissed with prejudice.

I.     STANDARD OF REVIEW

       To survive a motion to dismiss for failure to state a claim under Rule 12(b)(6), “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). While courts accept the factual

allegations in a complaint as true and construe them in the light most favorable to the

plaintiff, Chaparro v. Carnival Corp., 693 F.3d 1333, 1335 (11th Cir. 2012) (per curiam),

such factual allegations still must “raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555; see also Michel, 816 F.3d at 694. Therefore, a “pleading that

offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action

will not do.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555); see also Turner,

879 F.3d at 1273 (rejecting “conclusory” allegations in defamation case). Rather, “[a]

claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged”

and making this determination is “a context-specific task that requires the reviewing court

to draw on its judicial experience and common sense.” Iqbal, 556 U.S. at 678-79.

       The Eleventh Circuit has held that where constitutional defenses involving protected

speech are raised, rigorous application of the plausibility standard takes on particular

importance. Michel, 816 F.3d at 702. This is because, in such cases, “there is a powerful

interest in ensuring that free speech is not unduly burdened by the necessity of defending


                                              13
      Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 23 of 49




against expensive yet groundless litigation” and “[f]orcing publishers to defend

inappropriate suits through expensive discovery proceedings in all cases would constrict”

the “‘breathing space’ needed to ensure robust reporting on public figures and events.” Id.

(quoting New York Times Co. v. Sullivan, 376 U.S. 254, 271-72 (1964)).

       Moreover, pre-discovery evaluation of claims is often warranted in defamation

cases, because “unlike in most litigation, in a libel suit the central event—the

communication about which suit has been brought—is ordinarily before the judge at the

pleading stage. . . . He or she may assess it upon a motion to dismiss, firsthand and in

context.” 2 Robert D. Sack, Sack on Defamation § 16.2.1 (5th ed. 2017). Courts thus can,

and frequently do, resolve defamation claims at the motion to dismiss stage. See, e.g.,

Turner, 879 F.3d at 1259 (affirming dismissal of defamation claims for failure to plausibly

plead actual malice and because the challenged statements were non-actionable opinion);

Michel, 816 F.3d at 706 (affirming dismissal of defamation claims where complaint failed

to plausibly plead actual malice). For all the reasons below, this Court should reach the

same result here by dismissing this Complaint with prejudice.

II.    THE APPLICABLE STATUTE OF LIMITATIONS AND “OF AND
       CONCERNING” DOCTRINE SUBSTANTIALLY RESTRICT THE SCOPE
       OF THE CLAIMS IN THIS CASE

       Plaintiffs’ claims must be pared down at the outset based on the applicable statute

of limitations and the “of and concerning” doctrine. Specifically, defamation claims based

on any SPLC statement published prior to April 27, 2020 are time-barred, which leaves

only the characterization of DIS as an “anti-immigrant hate group” in suit. And because




                                            14
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 24 of 49




that one remaining statement is not “of and concerning” King himself, he is no longer a

proper plaintiff in this case.

         A.     The Statute Of Limitations Leaves Only One Statement In Suit.

         While Georgia law applies to the substantive claims in this case, 4 Alabama law

applies to procedural issues. See Nichols v. HealthSouth Corp., 281 So. 3d 350, 356 (Ala.

2018). Alabama’s statute of limitations for defamation is two years. Ala. Code § 6-2-38(k)

(“All actions of libel or slander must be brought within two years.”). Alabama “generally

applies what is known as the single-publication rule to tort claims.” Rosa & Raymond

Parks Inst. for Self Dev. v. Target Corp., 812 F.3d 824, 829 n.12 (11th Cir. 2016) (citing

Alabama case law). The statute of limitations thus begins to run in Alabama on defamation

claims with the first publication of a statement – whether on the internet or elsewhere.

         According to the express allegations in the Complaint, all of the allegedly

defamatory statements with the exception of one were published before April 27, 2020. In

Counts Three and Four, King pleads as a basis for defamation that the SPLC reported that

“Plaintiff King leads an ‘anti-immigrant hate group.’” See Compl. ¶¶ 68 & 73. In Count

Four, King sets out an additional statement as a basis for his defamation claim – that DIS

“focuses on vilifying all immigrants.” Id. ¶ 73. Both of those statements were made in an

article published before the initial lawsuit was filed in early 2020 and, in fact, they formed




   4
       See infra at 27-28; King I, 2022 U.S. Dist. LEXIS 56569, at *6 n.4.



                                                 15
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 25 of 49




the bases for King’s defamation claim in the prior case. 5 These alternative bases for King’s

defamation claim are due to be dismissed in their entirety on statute-of-limitations grounds

because the report in which they are found was first published well before April 27, 2020,

the cut-off date for the statute of limitations here. See also Holliday Decl. at ¶ 3

(categorizing claims by paragraph and count) and ¶ 5.

        All four of Plaintiffs’ counts – Counts One and Two for DIS and Counts Three and

Four for King – are also explicitly based on the Intelligence Reports and Hate Maps SPLC

published in February and/or March 2018, 2019, 2020 and 2021. See also Holliday Decl.

at ¶ 3 (categorizing claims by paragraph and count). Plaintiffs specifically take issue with

these reports’ classification of DIS as an “anti-immigrant hate group.” See Compl. ¶¶ 57,

62, 67 & 72. All but two of these reports fall outside the two-year statute of limitations

period. Thus, Plaintiffs’ hate-group-designation claims, except to the extent based on the

Intelligence Report and Hate Map published in the spring of 2021, are barred by the statute

of limitations.

        In conclusion, only Plaintiffs’ claims for defamation arising out of the 2021

Intelligence Report’s and Hate Map’s designation of DIS as an “anti-immigrant hate

group” are not time-barred. The remainder of the claims set out in Counts One through

Four are due to be dismissed. 6


   5
     See King I, ECF 3 at ¶¶ 38 & 43. The current version of the article in which these
statements were made is exactly the same as the one in existence prior to the filing of the 2020
lawsuit. See Holliday Declaration, Ex. 2.
   6
      Counts Five and Six are necessarily premised on Counts One through Four and merely ask
for different remedies, punitive damages (Count Five) and Injunctive Relief (Count Six). Thus,
their dismissal follows from the dismissal of the first four substantive counts. See King I, 2022


                                                16
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 26 of 49




       B.      King Is Not A Proper Plaintiff Because The Only Statement In
               Suit Is Not “Of And Concerning” Him.

       Because the only statement that is not time-barred here is the characterization of

DIS as an “anti-immigrant hate group,” King is not a proper plaintiff and should be

promptly dismissed from the case. Under Georgia law and the First Amendment, “[t]o

sustain an action for libel the allegedly defamatory words must refer to some ascertained

or ascertainable person, and that person must be the plaintiff.” Cox Enters., Inc. v. Bakin,

426 S.E.2d 651, 653 (Ga. Ct. App. 1992) (alterations omitted) (quoting Fiske v. Stockton,

320 S.E.2d 590, 592 (Ga. Ct. App. 1984)); see also Sullivan, 376 U.S. at 288 (statements

must be “of and concerning” plaintiff). Moreover, where, as here, the alleged defamation

involves a matter of public concern, the First Amendment requires the plaintiff to

demonstrate that he or she was “clearly identifiable” as the challenged statement’s subject.

Abramson v. Pataki, 278 F.3d 93, 102 (2d Cir. 2002) (citing Sullivan, 376 U.S. at 288-89).

       The designation of DIS as an “anti-immigrant hate group” is obviously not “of and

concerning” King. It is, by its plain terms, about DIS. Indeed, the Complaint itself

acknowledges that SPLC “does not place this [hate group] classification on individuals.”

Compl. ¶ 28. That is legally significant because an allegedly false statement about an entity

does not give rise to a claim by associated individuals. As the D.C. Circuit has explained:

       [D]efamation is personal; . . . [A]llegations of defamation by an organization
       and its members are not interchangeable. Statements which refer to
       individual members of an organization do not implicate the organization. By


U.S. Dist. LEXIS 56569, at *11 (noting that Plaintiffs’ “requests for punitive damages and
injunctive relief[] cannot be sustained” given the Court’s dismissal of the underlying defamation
claims).



                                               17
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 27 of 49




        the same reasoning, statements which refer to an organization do not
        implicate its members.

Jankovic v. Int’l Crisis Grp., 494 F.3d 1080, 1089 (D.C. Cir. 2007) (emphasis added and

ellipsis in original) (quoting Provisional Gov’t of New Afrika v. ABC, 609 F. Supp. 104,

108 (D.D.C. 1985)); see also Bakin, 426 S.E.2d at 653.

        In Jankovic, the D.C. Circuit rejected the contention that “the namesake of a

corporation can be defamed when false misdeeds are attributed to his company.” 494 F.3d

at 1089-90. Similarly, in Armscorp of America, Inc. v. Daugherty, the Georgia Court of

Appeals held that it did not matter if there might be evidence that readers associated the

challenged statements with the plaintiff where the defamatory words themselves did not

refer to that person. 380 S.E. 2d 729, 730 (Ga. Ct. App. 1989); accord Fiske, 320 S.E.2d

at 603. The same reasoning governs here: designation of DIS as a hate group applies to the

organization, and the law does not allow King to treat it as “of and concerning” him

personally.

        The “of and concerning” requirement is designed to curtail defamation claims, like

this one, based on statements made not about a plaintiff, but about other persons or groups

with which she is affiliated. See, e.g., Jankovic, 494 F.3d at 1089; Bakin, 426 S.E.2d at

653. SPLC’s designation of DIS as an “anti-immigrant hate group” is not “of and

concerning” King as a matter of law, and the Court should dismiss King from the case.

III.    THE ANTI-IMMIGRANT HATE GROUP DESIGNATION IS                                      A
        SUBJECTIVE OPINION THAT CANNOT SUPPORT A LIBEL CLAIM

         In Gertz v. Robert Welch, Inc., the Supreme Court explained that “[u]nder the First

 Amendment there is no such thing as a false idea. However pernicious an opinion may


                                             18
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 28 of 49




seem, we depend for its correction not on the conscience of judges and juries but on the

competition of other ideas.” 418 U.S. 323, 339-40 (1974). The Court subsequently

reaffirmed that “a statement of opinion relating to matters of public concern which does

not contain a provably false factual connotation will receive full constitutional

protection.” Milkovich, 497 U.S. at 20-21 (emphasis added). Similarly, under the Georgia

law applicable in this case, “a defamation action will lie only for a statement of fact. This

is because a statement that reflects an opinion or subjective assessment, as to which

reasonable minds could differ, cannot be proved false.” Cottrell v. Smith, 788 S.E.2d 772,

781 (Ga. 2016) (quoting Gettner v. Fitzgerald, 677 S.E.2d 149, 153 (Ga. Ct. App. 2009)).

Whether a challenged statement is one of provable fact or non-actionable opinion is a

question of law for the court. Turner, 879 F.3d at 1262–63; see also Bergen v. Martindale-

Hubbell, Inc., 337 S.E.2d 770, 772 (Ga. Ct. App. 1985).

      SPLC’s characterization of DIS as an “anti-immigrant hate group” is just such an

expression of opinion that cannot give rise to a claim because it is not capable of being

empirically proven true or false. That protection arises under both federal and state law,

and thus both sources of law require dismissal of all claims before the Court. However,

while federal and state protections overlap substantially, the relevant analyses differ

sufficiently that this Memorandum will address them separately in turn, as follows.

      A.     The First Amendment Protects The “Anti-Immigrant Hate
             Group” Designation As A Subjective Expression Of Opinion.

      As another Court in this District has already concluded, SPLC’s hate group

designation is an opinion that the First Amendment protects from defamation claims. Coral



                                            19
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 29 of 49




Ridge Ministries Media, Inc. v. Amazon.com, Inc., 406 F. Supp. 3d 1258, 1277 (M.D. Ala.

2019), aff’d on other grounds, 6 F.4th 1247 (11th Cir. 2021). That decision, and the

authority relied on therein, particularly the Supreme Court’s decision in Milkovich, requires

the same result here.

       As Coral Ridge makes clear, pursuant to the First Amendment, an opinion such as

the one at issue here cannot be the basis for a defamation claim. “The immunity granted

to opinions reflects, in part, the First Amendment principle that there can be no false

ideas.” Michel, 816 F.3d at 695 (citing Gertz, 418 U.S. at 339-40).          The protection

afforded to opinions is strong:

       At the heart of the First Amendment is the recognition of the fundamental
       importance of the free flow of ideas and opinions on matters of public interest
       and concern. “The freedom to speak one’s mind is not only an aspect of
       individual liberty—and thus a good unto itself—but also is essential to the
       common quest for truth and the vitality of society as a whole.” Bose Corp. v.
       Consumers Union of U.S., Inc., 466 U.S. 485, 503-04 (1984). We have
       therefore been particularly vigilant to ensure that individual expressions of
       ideas remain free from governmentally imposed sanctions.

Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 50-51 (1988).

       In Milkovich, the Supreme Court ruled that an opinion may be actionable as

defamation only when the assertion “is sufficiently factual to be susceptible of being proved

true or false.” 497 U.S. at 21. There, the challenged assertion was that the speaker believed

the plaintiff had lied under oath, and the Court concluded that such an assertion could be

tested for its veracity in, for example, a perjury prosecution. Id. at 21-22. The Court

contrasted this “‘objectively verifiable’” allegation with a “‘subjective assertion’” that

“does not contain a provably false factual connotation,” noting that the latter “will receive



                                             20
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 30 of 49




full constitutional protection.” Id. at 20, 22 (quoting Scott v. News-Herald, 496 N.E.2d 699,

707 (Ohio 1986)).

        Here, the challenged statement that DIS is an anti-immigrant hate group, is, in the

words of the Milkovich Court—and as found by this Court in Coral Ridge—not

“sufficiently factual to be susceptible of being proved true or false.” 497 U.S. at 21; see

also Coral Ridge, 406 F. Supp. 3d at 1277. Unlike the question of whether a plaintiff

committed perjury, which the Milkovich Court recognized could be decided by a jury “on

a core of objective evidence,” 497 U.S. at 21, there is no methodology by which one could

prove that DIS, as a factual matter, is not an anti-immigrant hate group. No legally

established elements define what is or is not an anti-immigrant hate group: it is a purely

subjective assertion. 7 As a result, the term “‘hate group’ has a highly debatable and

ambiguous meaning” and “suffers from ‘tremendous imprecision of . . . meaning and

usage . . . in the realm of political debate.’” Coral Ridge, 406 F. Supp. 3d at 1275-78

(second ellipsis in original) (quoting Buckley v. Littell, 539 F.2d 882, 893 (2d Cir. 1976)).

        SPLC’s “anti-immigrant hate group” designation constitutes an opinion, based on

SPLC’s interpretation and review of materials produced, and positions espoused, by DIS

and King on behalf of DIS, with respect to immigrants, and especially with regard to

undocumented immigrants. Milkovich, 497 U.S. at 20-22; Coral Ridge, 406 F. Supp. 3d at

1277-78 (holding that hate group designation is protected under Milkovich because it is not


   7
     Nor has SPLC accused DIS of violating any statute or other objectively established criteria.
Cf. Milkovich, 497 U.S. at 22 (“Unlike a subjective assertion the averred defamatory language is
an articulation of an objectively verifiable event.”) (quoting Scott, 496 N.E.2d at 707).



                                               21
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 31 of 49




provable as false). SPLC’s position is thus like many other statements that have been

deemed constitutionally protected opinions. See, e.g., Turner, 879 F.3d at 1262-65

(whether speech constituted “homophobic taunting” was not objectively verifiable and

whether someone was “unprofessional” was likewise non-actionable opinion); see also

Hamze v. Cummings, 652 F. App’x 876, 881 (11th Cir. 2016) (quoting Milkovich and

concluding that statement that plaintiff committed “brutal, senseless, road rage killing” that

showed “disregard for human life” was opinion that could not support defamation claim).

Here, too, the subjectivity of SPLC’s designation necessitates constitutional protection.

         That SPLC expresses its opinion with the intention of persuading others does

nothing to alter its subjective nature. Cf. Gitlow v. State of New York, 268 U.S. 652, 673

(1925) (Holmes, J., dissenting) (“Every idea is an incitement.”). Indeed, the attempt to

convince others to join one’s own opinion, particularly on matters of great public concern,

is the core activity protected by the First Amendment. E.g., Gertz, 418 U.S. at 339-40

(“[W]e depend for [the correction of pernicious opinions] not on the conscience of judges

and juries but on the competition of other ideas.”); Whitney v. California, 274 U.S. 357,

375-76 (1927) (Brandeis, J., concurring) (“[The Founders] believed that freedom to think

as you will and to speak as you think are means indispensable to the discovery and spread

of political truth . . . and that the fitting remedy for evil counsels is good ones.”). The

First Amendment accordingly recognizes the difference between a statement that the

proponent believes is correct and a statement that can be proven as true in the context of

a legal proceeding.




                                             22
   Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 32 of 49




          In addition, in evaluating whether a statement is entitled to protection under

Milkovich, a court “must consider the circumstances in which the statement was

expressed.” Horsley v. Rivera, 292 F.3d 695, 702 (11th Cir. 2002); see also Milkovich,

497 U.S. at 16-17 (discussing cases establishing that statements must be evaluated as

reasonable readers would perceive them under the circumstances). In this case, context

further supports deeming SPLC’s “anti-immigrant hate group” designation a

constitutionally protected opinion. The relevant circumstances include:

      •       SPLC is a non-profit organization that, among other activities, disseminates
              a “Hate Map” that contains an annual census of groups it designates as hate
              groups, see Compl. ¶¶ 9-10; Coral Ridge, 406 F. Supp. 3d at 1269;

      •       SPLC designated DIS as an anti-immigrant hate group in part because of
              the denigrating comments of its leadership about immigrants and in part
              because of its association with other anti-immigrant hate groups and anti-
              immigrant advocates and its aggressive, public, and vocal activities
              lobbying for the harsh treatment of immigrant groups, especially
              undocumented immigrants, see supra at 6-11; see also Ex. 2 to Holliday
              Decl. (SPLC DIS Report));

      •       DIS advocates broadly and intends that its words and actions be persuasive
              in the political arena, see supra at 4; and

      •       SPLC intends that its designations be persuasive in countering groups like
              DIS in the political arena, see id.

Considering these factors in the context of the current political climate, it is clear that

DIS’s position was espoused, and the “anti-immigrant hate group” designation made,

within a charged national debate regarding immigration and the manner in which

undocumented immigrants in the United States should be treated. In such a context, a

reasonable reader of SPLC’s statements would understand that each side of such a debate

is expressing its opinion on these highly controversial matters.


                                            23
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 33 of 49




         In a similar context involving charges of anti-Semitism and xenophobia, another

federal district court found the context of the statements highly relevant:

               Turning to the immediate context, the article describes the
               author . . . as the director of an organization “dedicated to
               fighting anti-Semitism and xenophobia,” thereby “signaling
               that he was not a disinterested observer.” The article appeared
               in . . . [a] publication that seems calculated “to draw the
               situation to the attention of interested parties,” who bring to the
               article a “well-developed understanding of the issues” raised.

Egiazaryan v. Zalmayev, 880 F. Supp. 2d 494, 507 (S.D.N.Y. 2012) (citations and

alterations omitted) (quoting Brian v. Richardson, 660 N.E. 2d 1126, 1131 (N.Y. 1995),

and Immuno AG v. Moor-Jankowski, 567 N.E.2d 1270, 1280 (N.Y. 1991)). The publication

of SPLC’s hate group designations on its website, in the context of an organization

dedicated to fighting discrimination and hate, likewise makes clear to the reasonable reader

that the statement represents a political opinion. Cf. Sullivan, 376 U.S. at 271 (“In the

realm of . . . political belief, sharp differences arise . . . [and] the tenets of one man may

seem the rankest error to his neighbor. . . . [But] these liberties [to air political differences]

are, in the long view, essential to enlightened opinion and right conduct on the part of the

citizens of a democracy.”) (quoting Cantwell v. Connecticut, 310 U.S. 296, 310 (1940)).

       The nature of the “anti-immigrant hate group” characterization also demonstrates

its protected status. Allegations of prejudice, hatred, or political extremism are classic

examples of opinions believed to be correct by the speaker, but not objectively verifiable

as true or false. As one court explained, in holding that “allegations of hostility to labor”

constituted protected speech:




                                               24
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 34 of 49




              To say that one is unfair to labor is not a statement of a fact,
              but of an opinion. Likewise to say of one: you are reactionary,
              you are undemocratic, you are a nationalist, you are an
              isolationist, you are a New Dealer, you are a Union Leaguer,
              you are opposed to labor, you are a coddler of labor, is similarly
              to express an opinion.

Guilford Transp. Indus., Inc. v. Wilner, 760 A.2d 580, 598 (D.C. 2000) (quoting

Montgomery Ward & Co. v. McGraw-Hill Publ’g Co., 146 F.2d 171, 176 (7th Cir. 1944));

see also, e.g., McCafferty v. Newsweek Media Grp., Ltd., 955 F.3d 352, 357 (3d Cir. 2020)

(“Under the First Amendment, opinions based on disclosed facts are absolutely privileged,

no matter how derogatory they are. . . . That holds true even when an opinion is extremely

derogatory, like calling another person’s statements anti-Semitic.” (internal marks

omitted)); Buckley, 539 F.2d at 893-95 (description of plaintiff as “fascist” is “loose” and

“ambiguous” and cannot be regarded as statement of fact because of “tremendous

imprecision” of the term); Ratajack v. Brewster Fire Dep’t, Inc., 178 F. Supp. 3d 118, 165

(S.D.N.Y. 2016) (statement “that Plaintiff was a racist or a future threat to others” was

“nonactionable opinion”); Egiazaryan, 880 F. Supp. 2d at 499 (holding that accusations of

various types of bias, including “xenophob[ia],” were protected assertions of opinion

incapable of being proved true or false); Jackson v. United Steel, Paper & Forestry,

Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int’l Union, 2009 WL 10704261, at

*39 (N.D. Ala. Feb. 23, 2009) (statements that plaintiff was “racist” and “radical” were




                                             25
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 35 of 49




“non-fact-based name-calling and rhetoric that d[id] not sufficiently assert representations

of actual facts”) (collecting cases). 8

         While SPLC continues to believe that its opinion that DIS is an anti-immigrant hate

group is well founded, the discussion above demonstrates that SPLC’s opinion is

nevertheless not one that is susceptible to objective proof of truth or falsity as

constitutionally required in a defamation context under Milkovich. To the contrary, the

anti-immigrant hate group designation reflects SPLC’s constitutionally protected opinion

regarding the nature of hate. See Milkovich, 497 U.S. at 20-21; Coral Ridge, 406 F. Supp.

3d at 1277. It necessarily follows that any defamation claim arising from the “anti-



   8
      This principle is well established across the country. See, e.g., Standing Comm. on
Discipline v. Yagman, 55 F.3d 1430, 1440 (9th Cir. 1995) (calling a judge “anti-Semitic” was a
non-actionable opinion); Squitieri v. Piedmont Airlines, Inc., 2018 U.S. Dist. LEXIS 25485, at
*12-13 (W.D.N.C. Feb. 16, 2018) (“Statements indicating that Plaintiff is racist are clearly
expressions of opinion that cannot be proven as verifiably true or false.”) (collecting cases);
Forte v. Jones, 2013 U.S. Dist. LEXIS 39113, at *15 (E.D. Cal. Mar. 20, 2013) (“[T]he
allegation that a person is a ‘racist’ . . . is not actionable because the term ‘racist’ has no
factually-verifiable meaning.”); Edelman v. Croonquist, 2010 U.S. Dist. LEXIS 43399, at *17-18
(D.N.J. May 4, 2010) (“[The] characterization of [plaintiffs] as racists is a subjective assertion,
not sufficiently susceptible to being proved true or false to constitute defamation.”); Martin v.
Brock, 2007 U.S. Dist. LEXIS 57207, at *10 (N.D. Ill. July 19, 2007) (“[U]nder Illinois law,
statements of opinion that someone is racist ‘fit comfortably within the immunity for name-
calling’ unless they imply the existence of undisclosed, defamatory facts.”) (citation omitted);
Smith v. Sch. Dist. of Phila., 112 F. Supp. 2d 417, 429 (E.D. Pa. 2000) (“While . . . a statement
that plaintiff is ‘racist and anti-Semitic,’ if it was made, would be unflattering, annoying and
embarrassing, such a statement does not rise to the level of defamation as a matter of law
because it is merely non-fact based rhetoric.”); Williams v. Kanemaru, 309 P.3d 972 (Table), 130
Haw. 304 (Haw. Ct. App. 2013) (accusation of racism based on disclosed facts not actionable for
defamation); Ward v. Zelikovsky, 643 A.2d 972, 983 (N.J. 1994) (accusation that plaintiffs
“hate[d] . . . Jews” non-actionable opinion); see also, e.g., Condit v. Clermont Cty. Review, 675
N.E.2d 475, 478 (Ohio Ct. App. 1996) (“Numerous courts have concluded that allegations of
fascism, anti-Semitism, or other accusations of ethnic bigotry are not actionable as defamation.”)
(citing cases); O’Neil v. Peekskill Faculty Ass’n, 507 N.Y.S.2d 173, 180 (N.Y. App. Div. 1986)
(holding that accusations of “bigotry” were “classic examples of pure opinions”). See generally 1
Robert D. Sack, § 2:4-7, at 2-48 & n.196 (5th ed. 2017).


                                                26
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 36 of 49




immigrant hate group” characterization fails as a matter of law. Moreover, because the

character of the challenged statements cannot be changed by amendment, the claim should

be dismissed with prejudice. See id. at 1280.

        B.    Georgia Law Also Provides That The “Anti-Immigrant Hate
              Group” Characterization Is A Non-Actionable Opinion

        In addition to the protections for opinions arising from the First Amendment,

Georgia, as a matter of state defamation law, also provides protection for opinions such as

the only one remaining at issue in this case. Georgia law therefore provides an independent

basis for dismissing the Complaint with prejudice. 9

              1.      Georgia substantive law applies in this case.

        A district court sitting in diversity looks to the choice-of-law rules of the forum

state. Target Corp., 812 F.3d at 829. In tort cases, Alabama generally applies the choice-

of-law principle of “[l]ex loci delicti . . . the law of the state where the injury occurred.”

Fitts v. Minn. Mining & Mfg. Co., 581 So. 2d 819, 820 (Ala. 1991); accord Target Corp.,

812 F.3d at 829. Although Alabama courts have not specifically addressed the issue in the

context of internet defamation, in the case of an “aggregate communication” such as one

distributed over the internet, the primary place of injury in a defamation case is generally

considered to be the domicile or primary place of business of the plaintiff – here, as to both

Plaintiffs, Georgia. See, e.g., Restatement (Second) of Conflict of Laws, § 150(2)-(3)




   9
    If Alabama law applied, the result would be the same. See, e.g., Bell v. Smith, 281 So. 3d
1247, 1252–56 (Ala. 2019); Sanders v. Smitherman, 776 So. 2d 68, 74 (Ala. 2000).


                                               27
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 37 of 49




(2019). Except where preempted by the federal constitutional limitations discussed above,

therefore, Georgia law governs the substance of Plaintiffs’ defamation claims.

              2.     Under Georgia law, the “anti-immigrant hate group”
                     label is an opinion not capable of defamatory meaning.

       The characterization of DIS as an “anti-immigrant hate group” is non-actionable not

only for the constitutional reasons outlined above, but also as a matter of Georgia law.

Under Georgia law, “[a]n assertion that cannot be proved false cannot be held libelous. A

writer cannot be sued for simply expressing his opinion of another person, however

unreasonable the opinion or vituperous the expressing of it may be.” Bergen, 337 S.E.2d

at 771-72 (quoting Hotchner v. Castillo-Puche, 551 F.2d 910, 913 (2d Cir. 1977)). For the

reasons explained above, SPLC’s anti-immigrant hate group designation is not capable of

being proved false, but is an opinion expressed as part of a political debate, and thus it is

non-actionable under Georgia law.

       In a matter involving statements that were less political, but equally subjective, the

Georgia Court of Appeals held that publication of attorney ratings by Martindale Hubbell

was non-actionable as a matter of law, explaining that “[t]he expression of opinion on

‘matters with respect to which reasonable men might entertain differing opinions’ is not

libelous. The relative abilities of different lawyers is patently such a matter, wholly

subjective and not capable of proof or disproof.” Id. at 771-72 (citations omitted) (quoting

Grayson v. Savannah News-Press, 139 S.E.2d 347, 352 (Ga. Ct. App. 1964)). Here, it is

just as apparent that the relative merits of opposing political positions regarding

immigration – as well as whether certain such positions are “anti-immigrant” or “hateful”



                                             28
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 38 of 49




– are “subjective and not capable of proof or disproof.” Id.; see also Webster v. Wilkins,

456 S.E.2d 699, 700-01 (Ga. Ct. App. 1995) (statement that mother was “unfit to have a

kid” was pure opinion where it was “apparent from the context of the article that

[defendant] did not use the phrase ‘unfit to have a kid’ in its legal sense or as a legal

conclusion, but used it only to express his subjective opinion criticizing [plaintiff’s]

parental abilities,” which was matter upon which reasonable people “might entertain

differing opinions”).

        Georgia law additionally “excludes from defamation liability any statements that

may be characterized as rhetorical hyperbole or are clearly recognizable as pure opinion

because their factual premises are revealed.” Monge v. Madison Cnty. Record, Inc., 802

F. Supp. 2d 1327, 1335 (N.D. Ga. 2011) (emphasis added) (quoting 800 Mktg. Solutions,

Inc. v. GMAC Ins. Mgmt. Corp., 2008 U.S. Dist. LEXIS 53680, at *23 (M.D. Ga. July 14,

2008)). 10 Rather, “a statement of opinion is actionable only if it implies the allegation of

undisclosed defamatory facts as the basis for the opinion.” Jaillett, 520 S.E.2d at 726

(emphasis in original) (quoting Restatement (Second) of Torts, § 566) (alterations omitted).

“If an opinion is based upon facts already disclosed in the communication, the expression

of the opinion implies nothing other than the speaker’s subjective interpretation of the

facts.” Id.



   10
      The First Amendment likewise protects conclusions based on fully disclosed factual bases.
See Turner, 879 F.3d at 1262 (holding that a statement is a “pure opinion” when “the defendant
makes a comment or opinion based on facts which are set forth in the publication or which are
otherwise known or available to the reader or listener as a member of the public” and that such
“statements of pure opinion are protected from defamation actions by the First Amendment”).



                                              29
       Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 39 of 49




           Under this standard, the characterization of DIS as an “anti-immigrant hate group”

is clearly non-defamatory as a matter of law, because the facts upon which that

characterization was based are fully disclosed, including through hyperlinks from the Hate

Map. 11 See Ex. 1 to Holliday Decl. (Hate Map); Holliday Decl. ¶¶ 4-5 (providing URLs

for Hate Map on SPLC website and explaining that SPLC’s DIS Report can be accessed

by a link to the Hate Map DIS listing). Upon review of those fully disclosed facts, there

can be no doubt that the challenged statement is protected under Georgia law. Georgia law

thus supplies a separate and independent basis for dismissing the Complaint with prejudice.

IV.        THE COMPLAINT DOES NOT CONTAIN SUFFICIENT WELL-
           PLEADED FACTS PLAUSIBLY TO ALLEGE ACTUAL MALICE

           Alternately, Plaintiffs’ claims are properly dismissed on the separate and

independent ground that Plaintiffs are concededly public figures, 12 and they have failed to

plead facts sufficient plausibly to allege that SPLC published that characterization with

actual malice fault – i.e., with knowledge of its falsity or despite a high degree of awareness

of its probable falsity. Garrison, 379 U.S. at 74. Indeed, that was the basis for the Court’s


      11
      Many courts have concluded that hyperlinked content is deemed part of a publication’s
overall context in a defamation action, including in determining that a challenged statement
constitutes a protected opinion based on disclosed facts. See, e.g., Sandals Resorts Int’l Ltd. v.
Google, Inc., 925 N.Y.S.2d 407, 416 (N.Y. App. Div. 2011) (allegedly defamatory statement in
email was “supported by links [in the email] to the writer’s sources”); Boley v. Atl. Monthly Grp.,
950 F. Supp. 2d 249, 262 (D.D.C. 2013) (hyperlink to earlier article was sufficient to
“incorporat[e] that article by reference and provid[e] the necessary context for the allegedly
defamatory remark”); see also Adelson v. Harris, 973 F. Supp. 2d 467, 484 (S.D.N.Y. 2013)
(“The hyperlink is the twenty-first century equivalent of the footnote for purposes of attribution
in defamation law . . . [Indeed,] a hyperlink provides benefits that a footnote does not. . . . [It]
instantaneously permits the reader to verify an electronic article’s claims.”).
      12
      See King I, 2022 U.S. Dist. LEXIS 56569, at *7 (“Plaintiffs concede they are public
figures”).



                                                30
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 40 of 49




dismissal of the King I case, and none of the cosmetic alterations that Plaintiffs have made

to their pleadings between that action and this one should lead to a different conclusion.

       A.     The Actual Malice Standard Places A “Daunting” Burden On Plaintiffs

       In the First Amendment context, actual malice is a term of art that does not denote

personal spite or ill will, but rather that the defendant published the statement either with

knowledge that it was false, or in reckless disregard of its possible falsity. See, e.g., King I,

2022 U.S. Dist. LEXIS 56569, at *9 (citing Harte-Hanks Commc’ns, Inc. v. Connaughton,

491 U.S. 657, 666 (1989)). This standard is “not an objective one,” and therefore the

beliefs or actions of a hypothetical reasonable person are irrelevant. Michel, 816 F.3d at

702-03 (citing St. Amant v. Thompson, 390 U.S. 727, 731 (1968)). Courts instead ask

whether the defendant actually entertained serious doubts as to the veracity of the published

account, or was highly aware that the account was probably false. Id.; Silvester v. ABC,

839 F.2d 1491, 1493 (11th Cir. 1988). This constitutional standard “is a rather daunting

one for public-figure plaintiffs.” Klayman v. City Pages, 2015 U.S. Dist. LEXIS 49134, at

*39-40 (M.D. Fla. Apr. 3, 2015), aff’d, 650 F. App’x 744 (11th Cir. 2016).

       Under this “daunting” standard, even “the most repulsive speech enjoys immunity

provided it falls short of a deliberate or reckless untruth.” Nat’l Ass’n of Letter Carriers v.

Austin, 418 U.S. 264, 284 (1974) (quoting Linn v. United Plant Guard Workers of Am.,

Local 114, 383 U.S. 53, 63 (1966)). Moreover, a public figure libel plaintiff’s heightened

burden to ultimately prove actual malice by clear and convincing evidence must necessarily

factor into the Iqbal/Twombly plausibility pleading standard. See Michel, 816 F.3d at 702.




                                               31
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 41 of 49




        SPLC maintains that the Complaint should be dismissed because the only

challenged statement within the statute of limitations is not even capable of truth or falsity,

and it is paradoxical to suggest that SPLC could somehow have “serious doubts” about the

truth of a characterization that is inherently incapable of being true or false. Nevertheless,

even assuming that the description of DIS as an “anti-immigrant hate group” could be

established as empirically false, the Complaint fails to plead facts that could support a

plausible allegation that SPLC was subjectively aware of such falsity. As such, the

Complaint fails plausibly to allege constitutional actual malice. Cf. Coral Ridge, 6 F.4th

at 1252-53 (holding that plaintiff failed to plausibly allege actual malice in SPLC’s

designation of plaintiff as a hate group).

        As noted above, the Eleventh Circuit has held that actual malice must meet the

Iqbal/Twombly pleading requirements in defamation lawsuits involving public figures.

Michel, 816 F.3d at 702. The Circuit explained this requirement as follows:

        [E]very circuit that has considered the matter has applied the Iqbal/Twombly
        standard and held that a defamation suit may be dismissed for failure to state
        a claim where the plaintiff has not pled facts sufficient to give rise to a
        reasonable inference of actual malice. [Citing cases from First, Second,
        Fourth, Seventh, and Tenth Circuits.] Joining that chorus, we hold that the
        plausibility pleading standard applies to the actual malice standard in
        defamation proceedings.

Id. (citations omitted). 13 The Court then explained the importance of enforcing this

standard in public figure defamation suits:




   13
     The Eighth Circuit recently “join[ed] the chorus” as well, see Nelson Auto Ctr., Inc. v.
Multimedia Holdings Corp., 951 F.3d 952, 958 (8th Cir. 2020) (citing Michel), as has the Third


                                              32
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 42 of 49




       In these cases, there is a powerful interest in ensuring that free speech is not
       unduly burdened by the necessity of defending against expensive yet
       groundless litigation. Indeed, the actual malice standard was designed to
       allow publishers the “breathing space” needed to ensure robust reporting on
       public figures and events. Forcing publishers to defend inappropriate suits
       through expensive discovery proceedings in all cases would constrict that
       breathing space in exactly the manner the actual malice standard was
       intended to prevent. The costs and efforts required to defend a lawsuit
       through that stage of litigation could chill free speech nearly as effectively as
       the absence of the actual malice standard altogether.

Id. (emphasis added) (quoting Sullivan, 376 U.S at 271-72).

       The Eleventh Circuit explained in Michel that courts “can disregard the portions of

the complaint where [plaintiff] alleges in a purely conclusory manner that the defendants

were ‘reckless’ in publishing the article.” Id. at 703-04 (citing Iqbal’s rejection of

“threadbare recitals” and “mere conclusory statements”). The court then examined certain

more detailed factual allegations made in the complaint, including that the defendant

newspaper failed to use due diligence in investigating the story it published, but found that

even those allegations, taken as true, were not enough to support a reasonable inference of

actual malice. Id. at 704-05.

       The case now before this Court is even weaker than the one in Michel, including

because these Plaintiffs are barred by collateral estoppel from re-litigating the actual malice

issue to the extent they seek to do so based on allegations pleaded or argued in King I. As

a result, very little remains to be considered by this Court as a basis for actual malice.




Circuit, see McCafferty, 955 F.3d at 360 (“Because [plaintiff] has not adequately pleaded actual
malice, he may not use discovery to probe [defendant’s] state of mind.”).



                                               33
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 43 of 49




         B.     The Doctrine Of Collateral Estoppel Limits The Allegations At Issue

         Under both Alabama and Georgia law, collateral estoppel requires that, in the prior

action, the same issue be actually litigated between the same parties. 14 Alabama adds an

additional layer to the equation by requiring that resolution of the issue be “necessary to

the prior judgment.” See Lee L. Saad Const. Co., 851 So. 2d at 520.

         All of these elements are satisfied here. The King I judgment was between these

same parties. The issue in question – whether actual malice was plausibly pled as

required by Twombly/Iqbal – was “actually litigated” in the prior action. Indeed, failure

to plausibly allege actual malice was the basis for the prior dismissal and therefore was

essential to the prior judgment. See King I, 2022 U.S. Dist. LEXIS 56569, at *11. As a

result, all that remains for this Court to resolve on the issue of actual malice is whether

any of Plaintiffs’ “new” allegations satisfy Twombly/Iqbal. None of them does.

         C.     None Of The “New” Allegations Satisfies The Actual Malice Test

                1.      Allegations concerning John Tanton

         The first set of “new” allegations is found in the Complaint at Paragraphs 15

through 23, in which Plaintiffs allege that an SPLC official told the press that SPLC

would reconsider whether to look at DIS as a possible hate group based on DIS’s ties


    14
       Georgia law provides that “[t]he doctrine of collateral estoppel, also known as issue
preclusion, prevents the re-litigation of an issue actually litigated and adjudicated on the merits
between the same parties or their privies.” Sure, Inc. v. Premier Petroleum, Inc., 807 S.E.2d 19,
25 (Ga. Ct. App. 2017) (citation and internal marks omitted). Similarly, Alabama law provides
that collateral estoppel requires four elements: “(1) that an issue in a prior action was identical to
the issue litigated in the present action; (2) that the issue was actually litigated in the prior action;
(3) that resolution of the issue was necessary to the prior judgment; and (4) that the same parties
are involved in the two actions.” Lee L. Saad Constr. Co. v. DPF Architects, P.C., 851 So. 2d
507, 520 (Ala. 2002) (citations and internal marks omitted).


                                                   34
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 44 of 49




with John Tanton “‘because there is no one more extreme than John Tanton and his crew

on immigration in the United States.’” Compl. ¶ 15. 15 Plaintiffs do not deny that DIS had

ties to Tanton or his organization, which is also mentioned in the excerpt from the

newspaper article quoted in Plaintiffs’ Complaint. Id. Nor do Plaintiffs deny that one of

the factors SPLC deems relevant in deciding whether to designate an organization as an

“anti-immigrant hate group” is its association with other anti-immigrant groups or

activists. The SPLC official’s statement that SPLC would have to reevaluate whether to

describe DIS as a hate group after learning of the links between DIS and Tanton thus

illustrates a lack of doubt about that subsequent characterization. Indeed, it is only

further evidence that SPLC subjectively believed in the truth of that characterization at

the time of publication.

              2.      Allegations Concerning U.S. Senator Jeff Sessions

        The second set of “new” allegations is Plaintiffs’ passing reference to SPLC’s

alleged reliance on then-Senator Jeff Sessions’ letter to Plaintiffs advocating that local

law enforcement use the federal program contained within Section 287(g) of the

Immigration and Nationality Act. Compl. ¶ 31. Plaintiffs call this “bizarre ‘evidence’”

but make no further assertion about it. Id. But this letter – in which then-Senator

Sessions “thank[ed]” King for his “extraordinary service to the Republic in the

immigration realm,” see Ex. 2 to Holliday Decl. (SPLC DIS Report) at 4 – is further


   15
      For the convenience of the Court, Exhibit 4 to the Holliday Declaration highlights the
differences between the Complaint in this action and the Amended Complaint that the Court
dismissed in King I.



                                               35
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 45 of 49




indication of Plaintiffs’ prominence in the heated debate over immigration policy. It thus

does not in any way suggest that SPLC’s characterization of DIS as an anti-immigrant

hate group was false – let alone that it was knowingly false.

              3.      Allegations Concerning DIS’s Connections To Immigrants

        The third set of “new” allegations is found at Paragraphs 35-36. Here Plaintiffs

allege that SPLC knew DIS’s board is racially diverse and includes immigrants and that

King’s sister, too, is an immigrant. Complaint ¶ 35-36. 16 Whether DIS’s board contains

immigrants or its founder’s sister is an immigrant says nothing, however, about whether

DIS’s positions and activities can accurately be characterized as anti-immigrant – let

alone whether SPLC subjectively doubted the truth of that characterization at the time it

was published. Cf. Tizes v. Curcio, 1997 U.S. Dist. LEXIS 13726, at *10 (N.D. Ill. Sept.

9, 1997) (“One can be Jewish, and be anti-Semitic. One can be black, and be anti-

black.”); Troche v. Smith, 1998 Conn. Super. LEXIS 2251, at *8 (Conn. Super. Ct. Aug.

6, 1998) (noting “the kind of subliminal prejudice expressed in such comments as ‘some

of my best friends are black’”).




   16
     These paragraphs also reference Plaintiffs’ position that DIS opposes only “illegal”
immigrants, but that was alleged in King I and thus is not new. See King I, ECF 3 at ¶¶ 11-13.



                                               36
     Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 46 of 49




               4.      Allegations Concerning SPLC’s Investigation Of Plaintiffs

        In the fourth “new” section, which can be found at Paragraphs 40 and 44-49, DIS

and King allege that SPLC failed to conduct a meaningful inquiry into DIS and made

certain factual errors in its reporting about DIS. 17 In particular, Plaintiffs allege:

           • that SPLC said DIS was incorporated in 2003 when it was incorporated in
             2005, see Compl. ¶ 45;

           • that SPLC erred by saying that DIS was formerly called American
             Resistance Foundation, see id. ¶ 46;

           • that SPLC said King became interested in immigration in the 1990s when,
             Plaintiffs say, King did not do so until 2003, see id. ¶ 47; and

           • that SPLC asserted falsely that King worked for the Georgia Coalition of
             Immigration Reduction, see id. ¶ 48.

Plaintiffs’ allegation that SPLC failed to adequately investigate DIS history has no legal

bearing in the actual malice analysis, however, as the law is clear that “the failure to

investigate does not give rise to a finding of actual malice,” Michel, 816 F.3d at 705,

particularly where, as here, the defendant did conduct some investigation, id. But, even if

SPLC published each of the four statements identified above, and even assuming each was

false, collateral inaccuracies would not affect the actual malice analysis. As the Supreme

Court explained in its most recent discussion of the actual malice requirement, the First

Amendment “require[s] more than mere falsity to establish actual malice: The falsity must



   17
      Plaintiffs allege that SPLC asserted in its briefing in King I that SPLC “did not conduct a
basic fact finding about the Plaintiffs, like the composition of the board of Plaintiff DIS or the
broader context of the statements of Plaintiff King.” Compl. ¶ 40. To be clear, however, SPLC
never asserted in its prior briefing that it had failed to conduct basic fact-finding into DIS.



                                                37
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 47 of 49




be ‘material.’” Air Wisconsin Airlines Corp. v. Hoeper, 571 U.S. 237, 247 (2014). Here,

none of the four allegedly false statements listed are in any way material to SPLC’s

decision to characterize DIS as an anti-immigrant hate group given the voluminous grounds

for that characterization discussed above and in the DIS Report. As a result, those four

statements cannot yield a plausible allegation that SPLC acted with actual malice.

                                      *      *       *

       In sum, none of the “new” allegations in this action yields a plausible assertion that

SPLC acted with actual malice in characterizing DIS as an anti-immigrant hate group. To

the contrary, the documents incorporated by the Complaint make clear that, at a minimum,

SPLC believed that DIS met its definition of an “anti-immigrant hate group.” Indeed, by

linking to extensive information in its DIS Report (Ex. 2 to Holliday Decl.), SPLC provided

readers its basis for believing that DIS fit its definitions. These materials, which are

cognizable on a motion to dismiss as explained above, demonstrate the basis for SPLC’s

conclusion as to the hate group designation and thus defeat any reasonable inference that

SPLC subjectively acted with actual malice. See Michel, 816 F.3d at 704 (holding that

“conclusory statement [in the complaint] is rebutted by the article itself, which was

included as an exhibit to the complaint” where article laid out defendants’ basis for

challenged statements); Coral Ridge, 6 F.4th at 1253 (“the district court was correct to

dismiss Coral Ridge’s defamation claim on the ground that Coral Ridge did not sufficiently

plead actual malice, and we affirm as to this issue”).

       Because DIS still has not and cannot allege facts sufficient for this Court to draw a

reasonable inference that SPLC subjectively entertained “serious doubts,” Michel, 816


                                             38
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 48 of 49




F.3d at 703, as to whether DIS was “anti-immigrant” or as to whether DIS met its definition

of a “hate group,” the entire Complaint should be dismissed with prejudice.

                                      CONCLUSION

       For the foregoing reasons, Defendant SPLC respectfully moves this Court for an

order dismissing Plaintiffs’ Complaint in its entirety, with prejudice, and granting such

other relief as it deems just and proper.


 Dated: June 13, 2022                   Respectfully submitted,

                                        /s/ Shannon L. Holliday
                                        Shannon L. Holliday [ASB-5440-Y77S]
                                        Robert D. Segall [ASB-7354-E68R]
                                        COPELAND, FRANCO, SCREWS & GILL, P.A.
                                        Post Office Box 347
                                        Montgomery, AL 36101-0347
                                        Telephone: 334-834-1180
                                        Facsimile: 334-834-3172
                                        Email: holliday@copelandfranco.com
                                        Email: segall@copelandfranco.com

                                        Chad R. Bowman (pro hac vice forthcoming)
                                        Maxwell S. Mishkin (pro hac vice forthcoming)
                                        BALLARD SPAHR LLP
                                        1909 K Street NW, 12th Floor
                                        Washington, DC 20006
                                        Telephone: 202-661-2200
                                        Facsimile: 202-661-2299
                                        Email: bowmanchad@ballardspahr.com
                                        Email: mishkinm@ballardspahr.com

                                        Attorneys for Defendant The Southern Poverty
                                        Law Center, Inc.




                                             39
    Case 2:22-cv-00207-WKW-JTA Document 10 Filed 06/13/22 Page 49 of 49




                              CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of June, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to:

       James R. McKoon
       McKoon & Gamble
       P.O. Box 3220
       Phenix City, AL 36868
       Email: jrmckoon@aol.com

                                                    s/Shannon L. Holliday
                                                    Of Counsel




                                               40
